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                      Case 21-05193                 Doc 1         Filed 04/20/21 Entered 04/20/21 14:41:58                                Desc Main
                                                                    Document     Page 5 of 52
 Fill in this information to identify the case:

 Debtor name                         Ford City Condominium Association

 United States Bankruptcy Court for the:
                                  Northern District of Illinois


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                  Type of account                    Last 4 digits of account number
       3.1 Burling Bank                                                   Checking account                                                                    $12,515.96

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                               $12,515.96
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑Yes. Fill in the information below.
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                              Schedule A/B: Assets — Real and Personal Property                                           page 1
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Debtor         Ford City Condominium Association                                                                        Case number (if known)
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
                                                                                                                                                                    $0.00
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ❑No. Go to Part 4.
          ✔Yes. Fill in the information below.
          ❑

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:                                           -                                            = ...... ➔
                                       face amount                                 doubtful or uncollectible accounts



         11b. Over 90 days old:                  $497,620.86                 -                     $0.00                  = ...... ➔                          $497,620.86
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                              $497,620.86
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ✔ No. Go to Part 5.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None


  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
          Describe:

Official Form 106A/B                                                                  Schedule A/B: Property                                                    page 2
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Debtor        Ford City Condominium Association                                                                 Case number (if known)
             Name



         None


  17.    Total of Part 4
                                                                                                                                                            $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         None

  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                              $0.00


  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑Yes. Fill in the information below.


Official Form 106A/B                                                              Schedule A/B: Property                                                page 3
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Debtor        Ford City Condominium Association                                                                 Case number (if known)
             Name



         General description                                                          Net book value of       Valuation method used      Current value of debtor's
                                                                                      debtor's interest       for current value          interest
                                                                                          (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30.    Farm machinery and equipment (Other than titled motor vehicles)

         None

  31.    Farm and fishing supplies, chemicals, and feed

         None


  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                                $0.00


  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑



Official Form 106A/B                                                           Schedule A/B: Property                                                   page 4
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Debtor        Ford City Condominium Association                                                                  Case number (if known)
             Name



         General description                                                               Net book value of   Valuation method used      Current value of debtor's
                                                                                           debtor's interest   for current value          interest
                                                                                           (Where available)


  39.    Office furniture

         39.1 4 Desks                                                                              (Unknown)                                             $1,500.00


  40.    Office fixtures

         None


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

         41.1 Washer Machines and Dryers                                                           (Unknown)                                           (Unknown)


  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                         $1,500.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑Yes. Fill in the information below.
         General description                                                               Net book value of   Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or         debtor's interest   for current value          interest
         N-number)                                                                         (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


         None


  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels




Official Form 106A/B                                                               Schedule A/B: Property                                                page 5
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Debtor        Ford City Condominium Association                                                                       Case number (if known)
             Name



         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

         None


  51.    Total of Part 8
                                                                                                                                                                  $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56.    Total of Part 9
                                                                                                                                                                  $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes
  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property



Official Form 106A/B                                                              Schedule A/B: Property                                                      page 6
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Debtor        Ford City Condominium Association                                                                    Case number (if known)
             Name



  59.    Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑Yes. Fill in the information below.

         General description                                                           Net book value of       Valuation method used        Current value of debtor's
                                                                                       debtor's interest       for current value            interest
                                                                                       (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         None


  62.    Licenses, franchises, and royalties

         None

  63.    Customer lists, mailing lists, or other compilations

         None


  64.    Other intangibles, or intellectual property

         None

  65.    Goodwill

         None


  66.    Total of Part 10
                                                                                                                                                               $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑Yes. Fill in the information below.


Official Form 106A/B                                                          Schedule A/B: Property                                                       page 7
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Debtor        Ford City Condominium Association                                                             Case number (if known)
             Name



                                                                                                                                     Current value of debtor's
                                                                                                                                     interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73.    Interests in insurance policies or annuities

         None


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims

         None


  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

         None


  78.    Total of Part 11
                                                                                                                                                        $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                          Schedule A/B: Property                                                page 8
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Debtor         Ford City Condominium Association                                                                                                 Case number (if known)
              Name



 Part 12: Summary


         Type of property                                                                            Current value of                                Current value
                                                                                                     personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                               $12,515.96

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                        $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $497,620.86

  83. Investments. Copy line 17, Part 4.                                                                                    $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                      $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                             $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy line
      43, Part 7.                                                                                                       $1,500.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                             $0.00


                                                                                                                                          ➔                             $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                         $0.00

  90. All other assets. Copy line 78, Part 11.                                                  +                           $0.00



  91. Total. Add lines 80 through 90 for each column......                                  91a.                      $511,636.82       + 91b.                          $0.00



                                                                                                                                                                                      $511,636.82
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                                   page 9
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 Fill in this information to identify the case:

 Debtor name                           Ford City Condominium Association

 United States Bankruptcy Court for the:
                                    Northern District of Illinois


 Case number (if known):                                                                                                                        ❑Check if this is an
                                                                                                                                                    amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,         Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                                 Amount of claim            Value of collateral
                                                                                                                                 Do not deduct the          that supports this
                                                                                                                                 value of collateral.       claim

2.1 Creditor’s name                                                 Describe debtor’s property that is subject to a lien                  $219,085.08                   unknown
    Total Masonry, LLC                                              Describe the lien

        Creditor's mailing address
                                                                    Is the creditor an insider or related party?
        390 Monaco Drive                                            ❑✔ No
         Roselle, IL 60172                                          ❑Yes.
        Creditor's email address, if known                          Is anyone else liable on this claim?
                                                                    ❑✔ No
        Date debt was incurred                                      ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Last 4 digits of account                           As of the petition filing date, the claim is:
        number                                             Check all that apply.
        Do multiple creditors have an interest in the same ❑Contingent
        property?                                          ❑Unliquidated
        ✔
        ❑  No.
                                                           ❑Disputed
        ❑Yes. Specify each creditor, including this creditor,
                and its relative priority.


 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                                     $219,085.08




Official Form 206D                                            Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor      Ford City Condominium Association                                                                   Case number (if known)
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity

     Levin & Ginsburg                                                                                         Line     2.1                   7    2      1   4
     BK Department
     180 N. LaSalle Street 3200
     Chicago, IL 60601




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 2
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 Fill in this information to identify the case:

 Debtor name                         Ford City Condominium Association

 United States Bankruptcy Court for the:
                                  Northern District of Illinois


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔No. Go to Part 2.
        ❑
        ❑Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

       Priority creditor’s name and mailing address               As of the petition filing date, the claim is:
2.1                                                               Check all that apply.
                                                                  ❑ Contingent
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
                                                                  Basis for the claim:
       Date or dates debt was incurred

                                                                  Is the claim subject to offset?
       Last 4 digits of account                                   ❑ No
       number                                                     ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address               As of the petition filing date, the claim is:
2.2                                                               Check all that apply.
                                                                  ❑ Contingent
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
                                                                  Basis for the claim:
       Date or dates debt was incurred

                                                                  Is the claim subject to offset?
       Last 4 digits of account                                   ❑ No
       number                                                     ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                               page 1 of 6
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Debtor        Ford City Condominium Association                                                                     Case number (if known)
            Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $45,000.00
       ACR Net Elevator Services                                               Check all that apply.
                                                                               ❑ Contingent
       Anthony White                                                           ❑ Unliquidated
                                                                               ❑ Disputed
       402 W. Boughton Road Ste. G                                             Basis for the claim: Elevator Repair
       Bolingbrook, IL 60440                                                   Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $23,465.90
       Anderson Elevator/Southwest Industry                                    Check all that apply.
                                                                               ❑ Contingent
       Bankruptcy Dept                                                         ❑ Unliquidated
                                                                               ❑ Disputed
       2801 S. 19th Ave.                                                       Basis for the claim: Elevator Repair
       Broadview, IL 60155                                                     Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   unknown
       Antoine L. Mackmore                                                     Check all that apply.
                                                                               ❑ Contingent
       Jennifer J. C. Kelley                                                   ❑ Unliquidated
       Anesi, Ozmon, Rodin,                                                    ✔ Disputed
                                                                               ❑
       Novak & Kohen, Ltd.
                                                                               Basis for the claim:
       161 N. Clark Street 21st Floor                                          Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
       Chicago, IL 60601
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $1,631.33
3.4                                                                            Check all that apply.
       AT&T
                                                                               ❑ Contingent
       PO Box 5080                                                             ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim:
       Carol Stream, IL 60197                                                  Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number          1    2   6   3

       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $57,539.75
3.5                                                                            Check all that apply.
       Chad & Prince
                                                                               ❑ Contingent
       Bk Dept                                                                 ❑ Unliquidated
                                                                               ❑ Disputed
       16w343 83rd Street A
                                                                               Basis for the claim:
       Burr Ridge, IL 60527                                                    Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 2 of 6
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Debtor        Ford City Condominium Association                                                               Case number (if known)
             Name




 Part 2: Additional Page

3.6      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $995.00
         City of Chicago Department of Buildings                           Check all that apply.
                                                                           ❑ Contingent
         Bankruptcy Department                                             ❑ Unliquidated
                                                                           ❑ Disputed
         2045 W. Washington Blvd.
                                                                           Basis for the claim:
         Chicago, IL 60612                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.7      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $319.16
         Comcast                                                           Check all that apply.
                                                                           ❑ Contingent
         Attn: Bk Dept                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 70219
                                                                           Basis for the claim:
         New York, NY 10176                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number       2   2   4    0

3.8      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $138.11
         Comcast                                                           Check all that apply.
                                                                           ❑ Contingent
         Attn: Bk Dept                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 70219
                                                                           Basis for the claim:
         New York, NY 10176                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number       2   5   1    3

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $9,937.61
3.9                                                                        Check all that apply.
         ComEd
                                                                           ❑ Contingent
         Po Box 6111                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Carol Stream, IL 60197-6111
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       2   0   0    4              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $843,000.00
3.10                                                                       Check all that apply.
         Ford City Realty LLC
                                                                           ❑ Contingent
         Bankruptcy Dept                                                   ❑ Unliquidated
                                                                           ✔ Disputed
                                                                           ❑
         150 GREAT NECK ROAD 304                                           Basis for the claim: Water Bill
         Great Neck, NY 11021                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number


Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3 of 6
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             Name




 Part 2: Additional Page

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
         George Spatharakis                                            Check all that apply.
                                                                       ❑ Contingent
         7320 S. Cork Ave.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Justice, IL 60458
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.12 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $57,871.15
         Parkway Elevator                                              Check all that apply.
                                                                       ❑ Contingent
         Bankruptcy Dept                                               ❑ Unliquidated
                                                                       ❑ Disputed
         2944 W. Lake Street                                           Basis for the claim: Elevator Repair
         Chicago, IL 60612                                             Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $7,660.70
         People's Gas                                                  Check all that apply.
                                                                       ❑ Contingent
         PO Box 6050                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Carol Stream, IL 60197
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number   0   0   0    1              ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4 of 6
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             Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
    assignees of claims listed above, and attorneys for unsecured creditors.
   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


         Name and mailing address                                                      On which line in Part 1 or Part 2 is the related            Last 4 digits of
                                                                                       creditor (if any) listed?                                   account number,
                                                                                                                                                   if any

 4.1     Ford City CH LLC                                                             Line 3.10

         Bankruptcy Dept.                                                             ❑ Not listed. Explain
         747 MIDDLE NECK ROAD 200
         Great Neck, NY 11024

 4.2     Ford City Mall                                                               Line 3.10

         Bankruptcy Department                                                        ❑ Not listed. Explain
         7601 S. Cicero Ave.
         Chicago, IL 60652

 4.3     Ford City Nassim                                                             Line 3.10

         Bankruptcy Dept.                                                             ❑ Not listed. Explain
         747 MIDDLE NECK ROAD 101
         Great Neck, NY 11024

 4.4     Hurst LLC                                                                    Line 3.11

         Kenneth Hurst                                                                ❑ Not listed. Explain
         8605 Melvina
         Burbank, IL 60459

 4.5     Katten Muchin Rosenman, LLP                                                  Line 3.10

         525 W. Monroe                                                                ❑ Not listed. Explain
         Chicago, IL 60661

 4.6     SFI Ford City - Chicago LLC                                                  Line 3.10

         Bankruptcy Department                                                        ❑ Not listed. Explain
         1114 Avenue of the Americas 39th Floor
         New York, NY 10036




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 5 of 6
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             Name


 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $0.00




  5b. Total claims from Part 2                                                        5b.              $1,047,558.71
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $1,047,558.71
      Lines 5a + 5b = 5c.




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 Debtor name                         Ford City Condominium Association

 United States Bankruptcy Court for the:
                                  Northern District of Illinois


 Case number (if known):                                          Chapter   11                                                           ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is       Antenna Site Lease Agreement                 T-Mobile USA, Inc.
2.1     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       Lease Compliance/CH92312B

        State the term remaining                                                               12920 SE 38th Street
                                                  0 months
                                                                                               Bellevue, WA 98006
        List the contract number of any
        government contract

        State what the contract or lease is
2.2     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.3     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.4     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.5     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


Official Form 206G                                           Schedule G: Executory Contracts and Unexpired Leases                                                page 1 of 1
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 Fill in this information to identify the case:

 Debtor name                         Ford City Condominium Association

 United States Bankruptcy Court for the:
                                  Northern District of Illinois


 Case number (if known):                                                                                                                 ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ✔No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                     that apply:

  2.1
                                                  Street




                                                  City                                State         ZIP Code



  2.2
                                                  Street




                                                  City                                State         ZIP Code



  2.3
                                                  Street




                                                  City                                State         ZIP Code



  2.4
                                                  Street




                                                  City                                State         ZIP Code



  2.5
                                                  Street




                                                  City                                State         ZIP Code




Official Form 206H                                                         Schedule H: Codebtors                                                              page 1 of 2
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            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                     Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                     that apply:

  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                   page 2 of 2
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 Fill in this information to identify the case:

 Debtor name                                        Ford City Condominium Association

 United States Bankruptcy Court for the:
                                                Northern District of Illinois


 Case number (if known):                                                                         Chapter           11                                                                                 ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                             12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                                $0.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                            $511,636.82

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                          $511,636.82




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                             $219,085.08



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                    $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +           $1,047,558.71




 4. Total liabilities..............................................................................................................................................................................                       $1,266,643.79

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                                      Summary of Assets and Liabilities for Non-Individuals                                                                    page 1
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 Fill in this information to identify the case:

 Debtor name                         Ford City Condominium Association

 United States Bankruptcy Court for the:
                                  Northern District of Illinois


 Case number (if known):                                                                                                                      ❑Check if this is an
                                                                                                                                                  amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                                 12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete                 Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code           and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                                  creditor contact                debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in total
                                                                                  professional            unliquidated,    claim amount and deduction for value of collateral or
                                                                                  services, and           or disputed      setoff to calculate unsecured claim.
                                                                                  government                               Total claim, if     Deduction for        Unsecured
                                                                                  contracts)                               partially           value of             claim
                                                                                                                           secured             collateral or
                                                                                                                                               setoff
1     ACR Net Elevator Services                                                   Elevator Repair                                                                         $45,000.00
      Anthony White
      402 W. Boughton Road Ste. G
      Bolingbrook, IL 60440

2     Anderson Elevator/Southwest                                                 Elevator Repair                                                                         $23,465.90
      Industry
      Bankruptcy Dept
      2801 S. 19th Ave.
      Broadview, IL 60155
3     AT&T                                                                                                                                                                  $1,631.33
      PO Box 5080
      Carol Stream, IL 60197


4     Chad & Prince                                                                                                                                                       $57,539.75
      Bk Dept
      16w343 83rd Street A
      Burr Ridge, IL 60527

5     City of Chicago Department of                                                                                                                                           $995.00
      Buildings
      Bankruptcy Department
      2045 W. Washington Blvd.
      Chicago, IL 60612
6     Comcast                                                                                                                                                                 $319.16
      Attn: Bk Dept
      PO Box 70219
      New York, NY 10176

7     Comcast                                                                                                                                                                 $138.11
      Attn: Bk Dept
      PO Box 70219
      New York, NY 10176

8     ComEd                                                                                                                                                                 $9,937.61
      Po Box 6111
      Carol Stream, IL 60197-6111




Official Form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
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            Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                          creditor contact                debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in total
                                                                          professional            unliquidated,    claim amount and deduction for value of collateral or
                                                                          services, and           or disputed      setoff to calculate unsecured claim.
                                                                          government                               Total claim, if     Deduction for        Unsecured
                                                                          contracts)                               partially           value of             claim
                                                                                                                   secured             collateral or
                                                                                                                                       setoff
9     Ford City Realty LLC                                                Water Bill              Disputed                                                       $843,000.00
      Bankruptcy Dept
      150 GREAT NECK ROAD 304
      Great Neck, NY 11021

10 Parkway Elevator                                                       Elevator Repair                                                                         $57,871.15
   Bankruptcy Dept
   2944 W. Lake Street
   Chicago, IL 60612

11 People's Gas                                                                                                                                                     $7,660.70
   PO Box 6050
   Carol Stream, IL 60197


12 Total Masonry, LLC                                                                                                                                            $219,085.08
   390 Monaco Drive
   Roselle, IL 60172


13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
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                            ACR Net Elevator Services
                            Anthony White
                            402 W. Boughton Road Ste. G
                            Bolingbrook, IL 60440



                            Anderson
                            Elevator/Southwest Industry
                            Bankruptcy Dept
                            2801 S. 19th Ave.
                            Broadview, IL 60155


                            Antoine L. Mackmore
                            Jennifer J. C. Kelley
                            Anesi, Ozmon, Rodin,
                            Novak & Kohen, Ltd.
                            161 N. Clark Street 21st Floor
                            Chicago, IL 60601


                            AT&T
                            PO Box 5080
                            Carol Stream, IL 60197




                            Chad & Prince
                            Bk Dept
                            16w343 83rd Street A
                            Burr Ridge, IL 60527



                            City of Chicago Department
                            of Buildings
                            Bankruptcy Department
                            2045 W. Washington Blvd.
                            Chicago, IL 60612


                            Comcast
                            Attn: Bk Dept
                            PO Box 70219
                            New York, NY 10176



                            ComEd
                            Po Box 6111
                            Carol Stream, IL 60197-6111
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                            Ford City CH LLC
                            Bankruptcy Dept.
                            747 MIDDLE NECK ROAD 200
                            Great Neck, NY 11024



                            Ford City Mall
                            Bankruptcy Department
                            7601 S. Cicero Ave.
                            Chicago, IL 60652



                            Ford City Nassim
                            Bankruptcy Dept.
                            747 MIDDLE NECK ROAD 101
                            Great Neck, NY 11024



                            Ford City Realty LLC
                            Bankruptcy Dept
                            150 GREAT NECK ROAD 304
                            Great Neck, NY 11021



                            George Spatharakis
                            7320 S. Cork Ave.
                            Justice, IL 60458




                            Hurst LLC
                            Kenneth Hurst
                            8605 Melvina
                            Burbank, IL 60459



                            Katten Muchin Rosenman, LLP
                            525 W. Monroe
                            Chicago, IL 60661




                            Levin & Ginsburg
                            BK Department
                            180 N. LaSalle Street 3200
                            Chicago, IL 60601
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                            Parkway Elevator
                            Bankruptcy Dept
                            2944 W. Lake Street
                            Chicago, IL 60612



                            People's Gas
                            PO Box 6050
                            Carol Stream, IL 60197




                            SFI Ford City - Chicago LLC
                            Bankruptcy Department
                            1114 Avenue of the Americas 39th Floor
                            New York, NY 10036



                            T-Mobile USA, Inc.
                            Lease Compliance/CH92312B
                            12920 SE 38th Street
                            Bellevue, WA 98006



                            Total Masonry, LLC
                            390 Monaco Drive
                            Roselle, IL 60172
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